
The Supreme Court aflxx’med the judgment of the Common Pleas on March 24th, 1884 in the following opinion:
Per Curiam.
There was cleai’ly no injury done to the plaintiff in i’efusing the amendment stated in the first assignment. If allowed, it would not have changed the effect of a recovery against the defendant, nor aided the plaintiff in the trial.
The plaintiff was never the owner of the property in question, and had no possession. Tlxe agreement stated was not sufficient to divest the title of Miller, as to his creditor's. He died insolvent in the possession of the propei’ty. It thei’eupon passed to his personal representatives for the benefit of his creditor’s. This plaintiff* cannot recover to the exclusion of other creditors of the deceased.
Judgment affirmed.
